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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )           4:05CR3118-2
                                            )
             Plaintiff,                     )
                                            )           MEMORANDUM
vs.                                         )           AND ORDER
                                            )
RODNEY L. HEROLD,                           )
                                            )
             Defendant.                     )

       The defendant seeks a continuance of sentencing in order to effectuate a Rule
20 transfer of another case to the District of Nebraska. Apparently, the defendant
anticipates an indictment in Illinois for bank robbery and desires to transfer that case
to the District of Nebraska for plea and sentencing. The defendant evidently believes
that the Illinois case may be related to this one and that sentencing in this case and the
Illinois matter should proceed in tandem. Counsel represents that the government has
no objection to the continuance.

       I will grant the continuance motion. But, I will set a deadline for effectuation
of the Rule 20 transfer and for the submission of a status report. Defense counsel
should take care to note these deadlines. Therefore,

      IT IS ORDERED that:

      1.     Sentencing is continued until further order of the court. The
             defendant’s motion (filing 47) is granted as provided herein.

      2.     The defendant shall cause the Illinois case to be transferred to the
             District of Nebraska and assigned to me as a related case. The
             defendant shall accomplish this transfer no later than June 23,

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          2006. The defendant through his counsel shall file a status report
          on the earlier of June 23, 2006 or when the Rule 20 transfer has
          been effectuated.

    3.    My chambers shall call this case to my attention on June 26, 2006.

    April 24, 2006.                        BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge




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